UNITED STATES DISTRICT
COURT FOR THE DISTRICT OF

COLUMBIA

Holding a Criminal Term

Grand Jury Sworn in On or about January 11, 2021

UNITED STATES OF AMERICA

v.
DOMINIC PEZZOLA,
Also Known As “Spaz,”
Also Known As “Spazzo,”
Also Known As “Spazzolini,”
(Counts 1, 2, 3, 4, 5, 6, 7, 8, 9, 10)
WILLIAM PEPE, and
(Counts 1, 2, 3, 6, 7, 8, 9)
MATTHEW GREENE,
(Counts 1, 2, 3, 6, 7, 8, 9)

Defendants.

CRIMINAL NO. 21-cr-52 (TJK)

MAGISTRATE NOS.
21-mj-47, 21-mj-32

VIOLATIONS:

18 U.S.C. § 371
(Conspiracy)

18 U.S.C. §§ 111(a)(1)
(Assaulting, Resisting, or Impeding
Certain Officers)

18 U.S.C. §§ 231(a)(3), 2
(Civil Disorder)

18 U.S.C. §§ 1361, 2
(Government Property or Contracts)

18 U.S.C. §§ 1512(c)(2), 2
(Obstruction of an Official
Proceeding)

18 U.S.C. §§ 2112
(Robbery of Personal Property of the
United States)

18 U.S.C. §§ 1752(a)(1), (2), & (4)
(Restricted Building or Grounds)

FIRST SUPERSEDING INDICTMENT

The Grand Jury charges that, on or about the dates set forth below:
COUNT ONE
(18 U.S.C. § 371—Conspiracy)

Background
The 2020 United States Presidential Election and the Official Proceeding on January 6, 2021

1. The 2020 United States Presidential Election occurred on November 3, 2020.

2. The United States Electoral College (“Electoral College”) is a group required by
the Constitution to form every four years for the sole purpose of electing the president and vice
president, with each state appointing its own electors in a number equal to the size of that state’s
Congressional delegation.

3. On December 14, 2020, the presidential electors of the Electoral College met in the
state capital of each state and in the District of Columbia and formalized the result of the 2020
USS. Presidential Election: Joseph R. Biden, Jr. and Kamala D. Harris were declared to have won
sufficient votes to be elected the next president and vice president of the United States.

4. On January 6, 2021, a Joint Session of the United States House of Representatives
and the United States Senate (“the Joint Session”) convened in the United States Capitol (“the
Capitol”) to certify the vote of the Electoral College of the 2020 U.S. Presidential Election (“the
Electoral College vote”).

The Proud Boys

5. The Proud Boys describes itself as a “pro-Western fraternal organization for men
who refuse to apologize for creating the modern world; aka Western Chauvinists.” Proud Boys
members routinely attend rallies, protests, and other events, some of which have resulted in
violence involving members of the group. There is an initiation process for new members of the
Proud Boys, and members often wear black and yellow polo shirts or other apparel adorned with

Proud Boys logos to public events.
6. The Proud Boys organization has a national chairman, referred to here as Proud
Boys Chairman, and is led by group of individual members known as the “Elders” chapter.
Throughout the United States, there are local Proud Boys chapters, which are typically led by
chapter “presidents.”

Conspirators

7. DOMINIC PEZZOLA, also known as “Spaz,” also known as “Spazzo,” also known
as “Spazzolini” (“PEZZOLA”) is a U.S. citizen and resident of Rochester, New York, and a
member of the Proud Boys. PEZZOLA advertised in one of his social media profiles that he was
a second-degree Proud Boy. PEZZOLA kept at his home a tactical vest with the Proud Boys logo

on it.

8. WILLIAM PEPE (“PEPE”) is a U.S. citizen residing in Beacon, New York. He is
a member of the Proud Boys and kept various articles of Proud Boy-related paraphernalia in his
home in Beacon, including a tactical vest with the Proud Boys logo on it. He is President of his
local Proud Boys chapter.

9. MATTHEW GREENE (“GREENE”) is a resident of Syracuse, New York. He is a
member of his local Proud Boys chapter. GREENE kept at his residence a Proud Boys pin, and

he advertised on at least one of his social media profiles that he was a first-degree Proud Boy.

The Attack at the U.S. Capitol on January 6, 2021
10. On December 19, 2020, plans were announced for a protest event in Washington,
D.C. to coincide with Congress’s certification of the Electoral College vote.
Il. On December 29, 2020, Proud Boys Chairman posted a message on social media
that read, in part, that the Proud Boys planned to “turn out in record numbers on Jan 6th but this

time with a twist.... We will not be wearing our traditional Black and Yellow. We will be
incognito and we will be spread across downtown DC in smaller teams. And who knows . . . we
might dress in all BLACK for the occasion.”

12. On December 31, 2020, Proud Boys Chairman posted a message on social media
that included a photograph of PEZZOLA. The caption under this photograph posted by Proud
Boys Chairman stated, “Lords of War. #J6 #J20.”

13. On January 6, 2021, only authorized individuals with appropriate identification
were allowed on the Capitol grounds or inside the Capitol building. The Capitol is secured 24
hours a day by United States Capitol Police (“Capitol Police”) and permanent and temporary
barriers that restrict access to the Capitol grounds and building.

14. On January 6, 2021, at 12:45 p.m., a large crowd began to gather outside the Capitol
perimeter, including near a pedestrian entrance to the Capitol grounds on First Street, Northwest,
near the Peace Monument. Among those present were PEZZOLA, PEPE, and GREENE, each of
whom had travelled to Washington, D.C. from out of state on January 5 or 6, as well as many other
Proud Boys members and others who had been marching with them throughout the day.

15. The First Street pedestrian entrance was guarded by Capitol Police. Prominent signs
posted on metal barriers at the pedestrian entrance and other locations stated, “AREA CLOSED
By order of the United States Capitol Police Board.”

16. At 12:53 p.m., a group of people forcibly breached the barriers at the pedestrian
entrance. A crowd followed, including PEZZOLA, PEPE, and GREENE. Members of the crowd
charged past the trampled police barriers.

17. At 1:00 p.m., the Joint Session convened in the Capitol to certify the Electoral
College vote. Vice President Michael R. Pence, in his constitutional duty as President of the

Senate, presided over the Joint Session, and Vice President-elect Harris was also present.
18. Outside the Capitol, between 12:53 and 2:00 p.m., law enforcement struggled to
maintain control of the growing crowd, which included PEZZOLA, PEPE, and GREENE.

19, Crowd members eventually forced their way through, up, and over additional
Capitol Police barriers and advanced to the building’s exterior fagade. Capitol Police officers
attempted to maintain order and stop the crowd from entering the Capitol building—the doors and
windows of the Capitol building were at that time locked or otherwise secured.

20. By 2:13 p.m., crowd members, including PEZZOLA, had begun to force entry into
the Capitol building by breaking windows and ramming open doors. The crowd was not lawfully
authorized to enter or remain inside the Capitol building, and no crowd member submitted to
security screenings or weapons checks by Capitol Police or other security officials. Other crowd
members encouraged and otherwise assisted the forced entry, affording PEZZOLA and PEPE the
ability to enter the Capitol building.

21. Shortly after the Capitol had been breached, at 2:20 p.m., members of the House
and Senate (including Vice President Pence}—who had withdrawn to separate chambers to resolve
an objection—were evacuated from their respective chambers. The Joint Session was halted while
Capitol Police and other law-enforcement officers worked to restore order and clear the Capitol
building and grounds of the unlawful occupants.

22. Later that night, law enforcement regained control of the Capitol building and
grounds. At approximately 8:00 p.m., the Joint Session reconvened, presided over by Vice
President Pence, who had remained within the Capitol building in a secure location throughout
these events.

23. Inthe course of these events, approximately 81 members of the Capitol Police and

58 members of the Metropolitan Police Department were assaulted. The Capitol suffered millions
of dollars in damage—including broken windows and doors, graffiti, and residue from pepper
spray, tear gas, and fire extinguishers deployed both by crowd members who stormed the Capitol
and by Capitol Police officers trying to restore order.

24. | PEZZOLA, PEPE, and GREENE celebrated the events of January 6, 2021, through
communications on social media and in encrypted chat messages. For example:

a. PEZZOLA posted a video on social media that depicted him smoking a cigar inside
the Capitol and proclaiming, “I knew we could take this motherf***er over if we
just tried hard enough. Proud of your mother***ing boy.”

b. PEPE posted a video on social media that depicted him inside the Capitol rotunda,
making a hand gesture, and stating “proud of your boy.”

c. GREENE sent a message through an encrypted messaging app to an associate who
inquired about his well-being on January 6, 2021, which stated, “I’m good, we took

the capital.”

The Conspiracy

25. From at least as early as January 5, 2021, and continuing through January 6, 2021,
in the District of Columbia, the defendants,
DOMINIC PEZZOLA,
WILLIAM PEPE, and
MATTHEW GREENE
did knowingly combine, conspire, confederate, and agree, with each other and others known and
unknown to the Grand Jury, to commit an offense against the United States, namely, (1) to
corruptly obstruct, influence, and impede an official proceeding, that is, Congress’s certification
of the Electoral College vote, in violation of Title 18, United States Code, Section 1512(c)(2), and

(2) to obstruct, impede, and interfere with law enforcement officers engaged in the lawful

performance of official duties incident to and during the commission of a civil disorder, in violation
of Title 18, United States Code, Section 23 1(a)(3).

Purpose of the Conspiracy

 

26. The purpose of the conspiracy was to stop, delay, or hinder Congress’s certification

of the Electoral College vote, by force if necessary.
Manner and Means

27. PEZZOLA, PEPE, and GREENE, with others known and unknown, carried out the

conspiracy through the following manner and means, among others:

a. Coordinating travel and lodging arrangements for travel to Washington, D.C.,

during the days around and including January 6, 2021;

b. Obtaining and using communication supplies, including programmable handheld
radios, encrypted messaging applications, and other communications equipment to

communicate and coordinate the January 6 attack;

c. Dressing in clothing that concealed their membership in the Proud Boys, as Proud
Boys Chairman had recommended in December 2020;

d. Dismantling metal barriers that law enforcement had deployed to protect the
Capitol;

e. Storming past barriers, Capitol Police, and other law enforcement officers; and

f. Breaking into the Capitol building by damaging its windows.
Overt Acts

28. In the support of the conspiracy, and in furtherance of the objects thereof, the

following individuals undertook the following overt acts, among others:

29. On January 5-6, 2021, PEZZOLA, PEPE, GREENE, and other individuals
affiliated with the Proud Boys, whose identities are known and unknown to the Grand Jury,

traveled to Washington, D.C. from different locations and arranged to meet in Washington, D.C.

30.

On January 6, 2021:

PEZZOLA, PEPE, GREENE, and other individuals affiliated with the Proud Boys,
whose identities are known and unknown to the Grand Jury, assembled on the

National Mall for the purpose of receiving instructions from Proud Boys leadership;

. PEZZOLA and GREENE connected earpieces to digital handheld radios and put

them on. PEPE carried a digital handheld radio that he planned to use in connection

with the conspiracy.

Individuals known and unknown to the Grand Jury, including PEZZOLA, PEPE,
GREENE, and other members or affiliates of the Proud Boys, traveled to and
gathered near the northwest pedestrian entrance to the Capitol grounds on First
Street, NW (the “Pedestrian Entrance”), where Capitol Police had set up metal

barriers for the purpose of controlling access to the Capitol grounds.

Shortly after 12:53 p.m., PEZZOLA, PEPE, and GREENE charged toward the
Capitol by crossing over the barriers that the crowd had violently disassembled and

trampled moments before PEZZOLA, PEPE, and GREENE advanced.

As the crowd approached additional sets of metal barriers, PEZZOLA and PEPE
were among those individuals leading the group, which included many members
and affiliates of the Proud Boys who had assembled outside the Capitol grounds
before the breach. PEZZOLA and PEPE, walking in close proximity to one another,
approached the Capitol building, which was guarded by Capitol Police officers

assigned to protect the Capitol and the elected official inside.
Upon reaching police barriers that had been erected at the entrance to the west plaza
of the U.S. Capitol, PEPE removed a police barrier so that others, including
members of the Proud Boys, could infiltrate that plaza, thus preventing Capitol
Police officers from controlling access to the Capitol and certain areas within the

Capitol grounds.

. After another set of barriers controlling access to the west plaza of the U.S. Capitol
had been torn down and trampled, PEZZOLA, PEPE, and GREENE entered the
west plaza and positioned themselves at or near the front of the crowd. PEZZOLA
ripped away a Capitol Police officer’s riot shield, while the officer was physically
engaging with individuals who had gathered unlawfully in the west plaza of the
Capitol.

. PEZZOLA and GREENE continued to move together through the crowd with
PEZZOLA in the lead and GREENE trailing close behind. PEZZOLA and
GREENE moved together toward a flight of stairs leading from the west plaza to
the Capitol building with PEZZOLA in possession of the riot shield he had forcibly

taken from the Capitol Police officer.

GREENE trailed closely behind PEZZOLA and another Proud Boy as they jointly

carried the riot shield PEZZOLA had forcibly taken from the Capitol Police officer.

PEZZOLA, PEPE, and GREENE assisted the crowd’s effort to advance up a flight
of stairs leading from the west plaza to the Capitol building by positioning

themselves near the front of the line between Capitol Police and rioters.

. At the top of the flight of stairs leading from the west plaza to the Capitol building,

PEZZOLA shouted at Capitol Police officers attempting to prevent the crowd from
advancing further, words to the effect of, “We ain’t stopping! We ain’t f***ing
stopping! F*** you! ... You think Antifa’s f***ing bad, just you wait!,” among

other things.

1. At approximately 2:13 p.m., PEZZOLA used a Capitol Police riot shield to break a
window in the Capitol building, which allowed rioters to enter the building and

force open an adjacent door from the inside.

m. Seconds later, PEZZOLA entered the Capitol building through the window he had

broken.

n. Within minutes of PEZZOLA breaking the window with the shield, PEPE and other
Proud Boys members, along with others, entered the Capitol building through the

door adjacent to the window broken by PEZZOLA.

(In violation of Title 18, United States Code, Sections 371, 1512(c)(2), and 231(a)(3)).
COUNT TWO
(18 U.S.C. §§ 1512(c)(2), 2—Obstruction of an Official Proceeding and
Aiding and Abetting)
31. Paragraphs 1 through 24 and paragraphs 29 and 30 of this Indictment are re-alleged
and incorporated as though set forth herein.
32. On January 6, 2021, in the District of Columbia, the defendants,
DOMINIC PEZZOLA,
WILLIAM PEPE, and
MATTHEW GREENE
attempted to, and did, corruptly obstruct, influence, and impede an official proceeding, and did aid
and abet others known and unknown to do the same; that is, PEZZOLA, PEPE, and GREENE

unlawfully entered the Capitol grounds and the Capitol building to, and did, stop, delay, and hinder

Congress’s certification of the Electoral College vote.
(In violation of Title 18, United States Code, Sections 1512(c)(2), 2)

COUNT THREE
(18 U.S.C. §§ 231(a)(3), 2)— Obstruction of Law Enforcement During Civil Disorder and
Aiding and Abetting)
33. Paragraphs | through 24 and paragraphs 29 and 30 of this Indictment are re-alleged
and incorporated as though set forth herein.
34, On January 6, 2021, in the District of Columbia, the defendants,
DOMINIC PEZZOLA,
WILLIAM PEPE, and
MATTHEW GREENE
committed and attempted to commit an act to obstruct, impede, and interfere with law enforcement
officers lawfully engaged in official duties incident to and during the commission of a civil
disorder, and did aid and abet others known and unknown to do the same, that is, PEZZOLA,
PEPE, and GREENE obstructed, impeded, and interfered with law enforcement who were
attempting to prevent crowds from unlawfully advancing on the Capitol building, and the civil
disorder obstructed, delayed, and adversely affected the conduct and performance of a federally
protected function, to wit: PEZZOLA, PEPE, and GREENE rushed past toppled metal barriers that
had, until moments earlier, been guarded by Capitol Police officers tasked with preventing the crowd’s
advance on the Capitol; PEPE dragged a metal barrier out of the crowd’s path, allowing the crowd
to more easily advance on the Capitol; and PEZZOLA ripped away a Capitol Police officer’s riot

shield;

(In violation of Title 18, United States Code, Sections 231(a)(3), 2)

COUNT FOUR
(18 U.S.C. § 2112—Robbery of Personal Property of the United States)
35. Paragraphs | through 24 and paragraphs 29 and 30 of this Indictment are re-alleged
and incorporated as if fully set forth herein.
36. On January 6, 2021, in the District of Columbia,
DOMINIC PEZZOLA,

by force and violence and by intimidation, did take and attempt to take, from the person and
presence of a Capitol Police officer, personal property belonging to the United States, that is a riot

shield.
(In violation of Title 18, United States Code, Section 2112)

COUNT FIVE
(18 U.S.C. § 111(a)(1)—Assaulting, Resisting, or Impeding Certain Officers)
37. Paragraphs 1 through 24 and paragraphs 29 and 30 of this Indictment are re-alleged

and incorporated as if fully set forth herein.
38. On January 6, 2021, within the District of Columbia,
DOMINIC PEZZOLA,

with intent to commit a felony, that is, to obstruct, impede, and interfere with a law enforcement
officer engaged in the lawful performance of his official duties, as charged in Count Three of this
Indictment, and robbery, as charged in Count Four of this Indictment, did forcibly assault, resist,
oppose, impede, intimidate, and interfere with, an officer and employee of the United States, and
of any branch of the United States Government (including any member of the uniformed services),
and did make physical contact with that officer and employee, while such person was engaged in
and on account of the performance of official duties.

(In violation of Title 18, United States Code, Section 111(a)(1))
COUNT SIX
(18 U.S.C. §§ 1361, 2)—Destruction of Government Property and Aiding and Abetting)

39. Paragraphs | through 24 and paragraphs 29 and 30 of this Indictment are re-alleged
and incorporated as though set forth herein.
AO. On January 6, 2021, in the District of Columbia, the defendants,
DOMINIC PEZZOLA,
WILLIAM PEPE, and
MATTHEW GREENE
attempted to, and did, willfully injure and commit depredation against property of the United
States, and did aid and abet others known and unknown to do so; that is, PEZZOLA, PEPE,
GREENE, and others known and unknown, forcibly entered the Capitol by breaking a window to
the building with a riot shield, and thereby caused damage to the building in an amount more than
$1,000.
(In violation of Title 18, United States Code, Sections 1361, 2)
COUNT SEVEN
(18 U.S.C. § 1752(a)(1))—Entering and Remaining in a Restricted Building or Grounds)
41. Paragraphs | through 24 and paragraphs 29 and 30 of this Indictment are re-alleged
and incorporated as though set forth herein.
42. On January 6, 2021, within the District of Columbia, the defendants,
DOMINIC PEZZOLA,
WILLIAM PEPE, and
MATTHEW GREENE
did unlawfully and knowingly enter and remain in a restricted building and grounds, that is, any
posted, cordoned-off, and otherwise restricted area within the United States Capitol and its

grounds, where the Vice President and Vice President-Elect were temporarily visiting, without

lawful authority to do so.
(In violation of Title 18, United States Code, Section 1752(a)(1))

COUNT EIGHT
(18 U.S.C. § 1752(a)(2)}—Disorderly Conduct in a Restricted Building or Grounds)

43. Paragraphs | through 24 and paragraphs 29 and 30 of this Indictment are re-alleged
and incorporated as though set forth herein.
44. On January 6, 2021, within the District of Columbia, the defendants,
DOMINIC PEZZOLA,
WILLIAM PEPE, and
MATTHEW GREENE
did knowingly, and with intent to impede and disrupt the orderly conduct of Government business
and official functions, engage in disorderly and disruptive conduct in and within such proximity
to a restricted building and grounds, that is, any posted, cordoned-off, and otherwise restricted area
within the United States Capitol and its grounds, where the Vice President and Vice President-
Elect were temporarily visiting, when and so that such conduct did in fact impede and disrupt the

orderly conduct of Government business and official functions.

(In violation of Title 18, United States Code, Section 1752(a)(2))

COUNT NINE
(18 U.S.C. § 1752(a)(4), 2)—Disorderly Conduct in a Restricted Building or Grounds and
Aiding and Abetting)
45. Paragraphs | through 24 and paragraphs 29 and 30 of this Indictment are re-alleged
and incorporated as though set forth herein.
46. On January 6, 2021, within the District of Columbia, the defendants,
DOMINIC PEZZOLA,

WILLIAM PEPE, and
MATTHEW GREENE

did knowingly engage in any act of physical violence against any property in a restricted building

and grounds, that is PEZZOLA, PEPE, GREENE, and others known and unknown to the Grand
Jury, broke a window in the Capitol building, which was inside the posted, cordoned-off, and
otherwise restricted area within the United States Capitol and its grounds, where the Vice President
and Vice President-elect were temporarily visiting.

(In violation of Title 18, United States Code, Section 1752(a)(4), 2)

COUNT TEN
(18 U.S.C. § 231(a)(3), 2) — Obstruction of Law Enforcement during a Civil Disorder and
Aiding and Abetting)

47. Paragraphs | through 24 and paragraph 29 and 30 of this Indictment are re-alleged

and incorporated as if fully set forth herein.
48. On January 6, 2021, within the District of Columbia,
DOMINIC PEZZOLA

did commit and attempt to commit an act to obstruct, impede, and interfere with a law enforcement
officer, that is E.G., engaged in the performance of his official duties incident to and during the
commission of a civil disorder, and the civil disorder obstructed, delayed, and adversely affected

the conduct and performance of a federally protected function.

(In violation of Title 18, United States Code, Sections 231(a)(3) and 2)
A TRUE BILL:

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CHANNING D. PHILLIPS
Acting United States Attorney in

and for the District of Columbia

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